        Case 1:22-cv-11421-ADB Document 10 Filed 10/06/22 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                                       for the
                            District of Massachusetts


JOSE MARIA DECASTRO, an          ) Case No. 1:22-cv-11421-ADB
individual                       )
                                 ) APPLICATION TO CLERK FOR
 Plaintiff,                      ) ENTRY OF DEFAULT
                                 )
 v.                              )
                                 )
 JOSHUA ABRAMS, an individual,   )
 et al.                          )
                                 )
 Defendants.                     )
_________________________________


          APPLICATION TO CLERK FOR ENTRY OF DEFAULT

To the Clerk of the United States District Court for the District of Massachusetts:

     I, Plaintiff Jose DeCastro, hereby requests that the Clerk enter the default of

defendant Kate Peter for failure to plead or otherwise defend in a timely manner as

provided by Federal Rules of Civil Procedure, Rule 55(a).

     Note that filing motions for an extension of time to answer the complaint was

not found to be considered an appearance that required notice before application

for default in Benny v. Pipes, 799 F.2d 489, 493 (9th Cir. 1986).

     This request is based on the following:
        Case 1:22-cv-11421-ADB Document 10 Filed 10/06/22 Page 2 of 2




         (1) The defendant was served with the summons and complaint pursuant

            to Federal Rules of Civil Procedure, Rule 4(c) on September 15, 2022,

            as evidenced by the proof of service on file with this court.

         (2) The defendant has failed to plead or otherwise respond to the

            complaint.

         (3) The applicable time limit for responding has expired.

I declare under penalty of perjury that the forgoing is true and correct.



Dated: October 6, 2022                     Respectfully submitted,


                                           /s/ Jose DeCastro Jose
                                           DeCastro
                                           1258 Franklin St
                                           Santa Monica, CA
                                           90404
                                           iamalaskan@gmail.com
                                           c. 310.963.2445


                          CERTIFICATE OF SERVICE

I, Jose DeCastro, hereby certify that on October 7, 2022, a true and correct copy of
this document was filed through the ECF system and will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing, and by
first-class mail to all non-registered participants, if any.

                                           /s/ Jose DeCastro




                                           2
